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                                UNITED STATES DISTRICT COURT
                                 DISTRICT OF MASSACHUSETTS



IN RE: PHARMACEUTICAL INDUSTRY                           MDL NO. 1456
AVERAGE WHOLESALE PRICE
LITIGATION


THIS DOCUMENT RELATES TO:                                CIVIL ACTION: 01-CV-12257-PBS

TRACK 2 SETTLEMENT                                       Judge Patti B. Saris


        CLASS PLAINTIFFS’ MOTION FOR APPROVAL OF FORM OF NOTICE TO
         CASH PAYING CONSUMERS IN CLASS 3, APPROVAL OF CONSUMER
            CLAIMS SCHEDULE, AND TO RESCHEDULE DATE FOR FINAL
                  APPROVAL OF THE TRACK TWO SETTLEMENT

            With respect to the Track Two Settlement, Class Plaintiffs submit this motion seeking

Court approval of the form of notice to cash paying consumers in Class 3, approval of a revised

schedule establishing opt-out, objection and claims filing dates for those cash-payor consumers

as well as consumers in Class 1, and to reschedule the date for the final fairness hearing related

to the Track Two Settlement, currently scheduled for October 21, 2009. Class Plaintiffs have

conferred with the Track Two Defendants and the Track Two Defendants do not oppose this

Motion. A proposed form of order is attached hereto for the Court’s consideration.

            On April 27, 2009, the Court held a fairness hearing to consider approval of the Track

Two Settlement. At that time Class Counsel was awaiting data from CMS in order to provide

notice to Class 1 of the settlement using CMS contact and payment data. In addition, the Court

indicated that it had questions concerning the adequacy of the Class 3 notice as it related to cash

payors only. In addition, the Court heard from various objectors to the settlement and sought

further clarification on some aspects of the settlement.




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            Class Counsel intend to file a further response to the Court’s comments and concerns

raised by objectors prior to the rescheduled final approval hearing. In the meantime, Class

Counsel seek to update the Court on the status of notice to Class 1 and seek approval of the

supplemental notice to cash payors as well as the form of that notice and to establish a schedule

of important dates related to both Class 1 consumers and cash paying consumers in Class 3.

            As the Court is aware, notice to Third Party Payors in Class 2 and Class 3 was completed

earlier this year and the time for the filing of TPP claims and requests for exclusion passed in

March, 2009. The Court-appointed claims administrator is currently auditing and processing

TPP claims in the Track Two Settlement. Accordingly, nothing herein relates to an extension or

rescheduling of any dates related to TPP claims or requests for exclusion.

A.          Notice to Class 1

            As the Court will recall, direct mail notice to Class 1 (Medicare recipients) is to be

accomplished using data obtained from CMS. This data was previously obtained from CMS and

used for purposes of direct mail notice to Class 1 consumers in both the GSK AWP settlement

and the Class 1-only settlement with AstraZeneca. Class Counsel have not yet received this data

from CMS as it relates to Class 1 consumers with Track Two claims but expect to obtain such

data by October 31, 2009. Class Counsel understand that this delay is due to CMS’s decision to

award its third party data contract to a new vendor. Among other tasks, the vendor manages and

fulfills CMS data requests. As part of the transition, the new CMS vendor was required to load

all CMS data into its data systems. Due to the amount and complexity of the data maintained by

CMS, as related by the vendor, the process has taken far longer than expected. Class Counsel

have been informed that the process of loading CMS data is now complete and that the vendor is

now processing the request for Class 1 data related to the Track Two Settlement.




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B.          Approval of Supplemental Notice Program and Form of Notice to Cash Payors

            In order to address the Court’s concerns that the notice previously published and targeted

towards consumers in Class 3 was not clear as to the fact that cash payors are included in the

settlement, Class Counsel requested that Katherine Kinsella of Kinsella Media, LLC (previously

Kinsella/Novack Communications) design a supplemental notice program to reach cash paying

consumers in Class 3. Class Counsel also requested that the supplemental notice program be

focused on those forms of notice that are more likely to drive claims among AWP consumer

class members.

            Given previous experience in a number of settlements in this case, it appears that the

greatest number of claims among consumer class members has been driven by both 30 second

cable television spots as well as by internet banner ads. This is evidenced by the fact that claims

rates in the original notice program spiked considerably in the period of time during which

similar cable television spots and banner ads appeared. Thus, the supplemental notice proposed

by Kinsella, as outlined on Exhibit 1 attached hereto, focuses exclusively on reaching cash

payors through these two forms of media.

            1.        Cable Television

            The proposed supplemental notice program provides for a 30 second television

advertisement to be run approximately 60 times during a two-week period. The script of the

proposed television ad is attached hereto as Exhibit 2. It is identical to the television spot

previously run to reach Class 3 consumers in the Track Two Settlement with the exception that it

adds the words “If you paid cash” to the beginning of the television spot. The script will appear

on screen as indicated in Exhibit 2 and will also be read aloud by an announcer as the words

appear on the screen.




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            2.        Internet Banner Advertisements

            As with the original notice program, the supplemental program includes internet banner

ads displayed on targeted websites using the 24/7 internet network. This network delivers

thousands of impressions daily on hundreds of special interest websites related, including health,

travel and other issues of interest to the targeted demographic – consumers who are 35 years of

age or older. These banner ads will appear for a period of approximately 6 weeks and will create

in excess of 250 million impressions among the visitors to these web pages. The proposed text

of the internet banner ad is attached hereto as Exhibit 3.

C.          Revised Schedule Related To Consumer Claims Only

            In order to provide for the notice to consumer cash payors as well as to provide adequate

time to process CMS data and provide consumers in Class 1 direct mail notice, Class Counsel

requests that the Court reschedule the final approval hearing currently scheduled for October 21,

2009, and that the Court establish revised deadlines for the filing of requests for exclusion,

objections, and claims for Class 1 consumers and cash payors in Class 3. The proposed schedule

is set forth below for the Court’s consideration:

                           Event                                         Revised Date

 Filing of Materials in Support of Final
                                                       December 1, 2009
 Approval including Attorneys Fees
 Filing of Request for Exclusion                       Postmarked by December 15, 2009
 Filing of Notice of Intention to Appear at
 Fairness Hearing Stating Reasons for                  December 15, 2009
 Opposition to Proposed Settlement
 Responses to Opposition to Proposed
                                                       January 4, 2010
 Settlement
                                                       ________, 2010 [[TBD by the Court (on or
 Final Approval Hearing
                                                       after Jan. 15, 2010)]]




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 Filing of Claim (Consumer Class Members
                                                      February 1, 2010
 Only)


            For the reasons set forth above, Class Counsel respectfully request that the Court approve

the manner and form of notice to cash payors and enter the schedule set forth above related to

consumers only and that the Court enter the proposed Order filed herewith.



DATED: October 7, 2009.                           By    /s/ Steve W. Berman
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                               CERTIFICATE OF SERVICE

        I hereby certify that I, Steve W. Berman, an attorney, caused a true and correct copy of
the foregoing, CLASS PLAINTIFFS’ MOTION FOR APPROVAL OF FORM OF NOTICE TO
CASH PAYING CONSUMERS IN CLASS 3, APPROVAL OF CONSUMER CLAIMS
SCHEDULE, AND TO RESCHEDULE DATE FOR FINAL APPROVAL OF THE TRACK
TWO SETTLEMENT, to be delivered to all counsel of record by electronic service pursuant to
Paragraph 11 of the Case Management Order No. 2, by sending on October 7, 2009, a copy to
LexisNexis File & Serve for posting and notification to all parties.

                                             /s/ Steve W. Berman
                                            Steve W. Berman




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